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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF ILLINOIS
                                EAST ST. LOUIS DIVISION
Ingrid Cox, individually and on behalf of all          3:22-cv-00141-NJR
others similarly situated,
                                    Plaintiff,

                      - against -

Star Brands North America Inc.,
                                    Defendant

                             NOTICE OF VOLUNTARY DISMISSAL

         Plaintiff gives notice that this action is voluntarily dismissed. Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated:      December 8, 2022
                                                             Respectfully submitted,

                                                             /s/Spencer Sheehan
                                                             Sheehan & Associates, P.C.
                                                             60 Cuttermill Rd Ste 409
                                                             Great Neck NY 11021
                                                             (516) 268-7080
                                                             spencer@spencersheehan.com
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                                     Certificate of Service

I certify that on December 8, 2022, I served and/or transmitted the foregoing by the method below

to the persons or entities indicated, at their last known address of record (blank where not

applicable).

                                  CM/ECF            First-Class       Email            Fax
                                                       Mail
 Defendant’s Counsel                  ☒                 ☐               ☐               ☐
 Plaintiff’s Counsel                  ☒                 ☐               ☐               ☐
 Courtesy Copy to Court               ☐                 ☐               ☐               ☐


                                                         /s/ Spencer Sheehan
